Case 1:23-mj-00725-CFH Document 1 Filed 12/07/23 Page 1 of 5
                                                      U.S. DISTRICT COURT – N.D. OF N.Y.

                                                                FILED
                                                          Dec 07 - 2023

                                                             John M. Domurad, Clerk

                                          1:23-MJ-725(CFH)




 Albany, NY
Case 1:23-mj-00725-CFH Document 1 Filed 12/07/23 Page 2 of 5
Case 1:23-mj-00725-CFH Document 1 Filed 12/07/23 Page 3 of 5
Case 1:23-mj-00725-CFH Document 1 Filed 12/07/23 Page 4 of 5
Case 1:23-mj-00725-CFH Document 1 Filed 12/07/23 Page 5 of 5




                                            7th
